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16   MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
17                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
18                           SOUTHERN DIVISION
19   MASIMO CORPORATION,                     ) Case No. 8:20-cv-00048-JVS-JDE
     a Delaware corporation; and             )
20   CERCACOR LABORATORIES, INC.,            ) MASIMO’S REPLY TO APPLE’S
     a Delaware corporation                  ) RESPONSE TO SUPPLEMENTAL
21                                           ) BRIEF REGARDING SPECIAL
                 Plaintiffs,                 ) MASTER
22                                           )
           v.                                ) Hon. James V. Selna
23                                           )
     APPLE INC., a California corporation    )
24                                           )
                 Defendant.                  )
25                                           )
                                             )
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1          On September 16, Apple filed a Response To Plaintiffs’ Supplemental Brief
2    Regarding Special Master. Dkt. 2112. This paper briefly responds.
3          Apple argues, despite having never moved to strike, that the Court should strike
4    Masimo’s amended infringement contentions because Masimo did not show diligence
5    under the good cause standard. Id. But Apple cropped the quote from the case it cited.
6    The case actually explained: “The Court need not consider the prejudice question absent
7    a showing of diligence, though the Court may exercise its discretion to do so.” Facet
8    Techs., LLC v. LifesSan, Inc., 2023 WL 5504954, at *2 (C.D. Cal. June 7, 2023)
9    (emphasis showing Apple omission). And the Facet case relied on a case where Apple
10   itself was allowed to amend even though “Apple fail[ed] to establish good cause” and
11   “cannot explain [its] extended delay.” Apple Inc. v. Samsung Elecs. Co., 2012 WL
12   5632618, at *5 (N.D. Cal. Nov. 15, 2012) (finding Apple “could have discovered”
13   information at the time of its original contentions). The court explained “even if the
14   movant was arguably not diligent, the court may still grant leave to amend.” Id.
15   (allowing Apple to amend because there was “ample time left on the pretrial clock”).
16   Thus, the Court is free to allow the amendments upon a finding that Apple will suffer
17   no prejudice because the schedule changed, and Apple itself has obtained such results.
18         Apple also cannot reasonably complain about a supposed lack of diligence. Apple
19   ignores that Masimo amended its contentions to moot Apple’s motion to compel. Dkt.
20   1955-1 at 2. Masimo thus provided the relief that Apple requested in its motion. And
21   Masimo’s amendments addressed discovery that Apple provided just days earlier. See
22   Dkt. 2027 at 3, 10-11 (explaining timing of amendments). Nor can Apple now credibly
23   claim prejudice because it was unable to develop “further factual evidence relevant to”
24   Masimo’s contentions. Any infringement evidence is under Apple’s control. And Apple
25   has never identified any additional discovery that it requires.
26         Accordingly, the Court need not decide or engage a special master to decide
27   whether the parties raised new theories in their contentions.
28   ///

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1                                        Respectfully submitted,
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1                                CERTIFICATE OF COMPLIANCE
2          The undersigned, counsel of record for Plaintiffs’ Masimo Corp. and Cercacor
3    Laboratories, Inc., certifies that this brief contains 347 words, which [choose one]:
4    X complies with the word limit of L.R. 11-6.1.
5    __ complies with the word limit set by court order dated [date].
6
7                                                  KNOBBE, MARTENS, OLSON & BEAR, LLP
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